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4
5    Attorney for Defendant
     PHI VAY BUI
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      CR. NO. S-07-122 EJG
                                     )
13                   Plaintiff,      )      STIPULATION; ORDER
                                     )
14        v.                         )
                                     )      DATE: June 8, 2007
15   PHI VAY BUI,                    )      TIME: 10:00 a.m.
     DAVID NGUYEN,                   )      COURT: Hon. Edward J. Garcia
16   JASON WEATHERSBY,               )
     VYACHESLAV ROTAR,               )
17   and,                            )
     MAKSIM KARASENI                 )
18                                   )
                     Defendants.     )
19                                   )
     _______________________________ )
20
          Defendants, PHI VAY BUI, through Christopher Haydn-Myer, Attorney
21
     At Law, DAVID NGUYEN, through his attorney of record, Hayes Gable,
22
     JASON WEATHERSBY, through his attorney of record, Dwight Samuel,
23
     VYACHESLAV ROTAR, through his attorney of record, Joseph Welch, MAKSIM
24
     KARASENI, through his attorney of record, Dina Santos, and the United
25
     States of America, through Assistant U.S. Attorney Phillip A. Talbert,
26
     agree as follows:
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28
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1         It is hereby stipulated that the status conference currently set
2    for June 8, 2007, be vacated and a new status conference be scheduled
3    on July 13, 2007 at 10:00 a.m.
4         It is further stipulated and agreed between the parties that the
5    time under the Speedy Trial Act should be excluded from today’s date to
6    July 13, 2007, under Local Code T4, Title 18, United States Code
7    section 3161(h)(8)(B)(iv), to give the defendants time to further
8    review the discovery and to adequately prepare.
9         The new date has been confirmed with federal court interpreter
10   Yolanda Riley-Portal, and an interpreter is available on July 13, 2007.
11
12   Dated: June 6, 2007
13                                          Respectfully submitted,
14                                          /s/ Christopher Haydn-Myer
                                            ________________________________
15                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
16                                          PHI VAY BUI
17
     Dated: June 6, 2007                    /S/ Christopher Haydn-Myer for
18                                          HAYES GABLE
                                            Attorney for Defendant
19                                          DAVID NGUYEN
20   Dated: June 6, 2007                    /S/ Christopher Haydn-Myer for
                                            DWIGHT SAMUEL
21                                          Attorney for Defendant
                                            JASON WEATHERSBY
22
     Dated: June 6, 2007                    /S/ Christopher Haydn-Myer for
23                                          JOSEPH WELCH
                                            Attorney for Defendant
24                                          VYACHESLAV ROTAR
25   Dated: June 6, 2007                    /S/ Christopher Haydn-Myer for
                                            DINA SANTOS
26                                          Attorney for Defendant
                                            MAKSIM KARASENI
27
28                                           2
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1
     DATED: June 6, 2007                      McGREGOR W. SCOTT
2                                             United States Attorney
3                                             /S/ Christopher Haydn-Myer for
                                              PHILLIP A. TALBERT
4                                             Assistant U.S. Attorney
                                              Attorney for Plaintiff
5
6
7
                                      ORDER
8
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the status conference
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     currently set for June 8, 2007, be vacated and a new status conference be
10
     scheduled on July 13, 2007 at 10:00 a.m., and the time under the Speedy
11
     Trial Act should be excluded from today’s date to July 13, 2007, under
12
     Local Code T4, Title 18, United States Code section 3161(h)(8)(B)(iv).
13
14
     DATED: June 6, 2007
15
                                              /s/ Edward J. Garcia
16                                            HON. EDWARD J. GARCIA
                                              United States District Court Judge
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